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ORLEANS PARISH CRIMINAL DISTRICT COURT
PARISH OF ORLEANS

STATE OF LOUISIANA

Case Number: WARRANT NUMBER:
A-28745-20 A-28745-20

AFFIDAVIT FOR SEARCH AND SEIZURE WARRANT

BEFORE ME, the undersigned Authority of the ORLEANS PARISH CRIMINAL DISTRICT
COURT, Parish of ORLEANS, State of Louisiana, Steven Phillips , of the New Orleans Police
Department, who, upon being duly sworn by me, deposes and says:

PROBABLE CAUSE EXIST FOR THE ISSUANCE OF A SEARCH WARRANT
AUTHORIZING THE SEARCH OF:

1024 N. Rampart St., New Orleans, LA,

WWL TV

1024 N. Rampart St. New Orleans LA 70116

Custodial of Records

WHERE THE FOLLOWING DESCRIBED ITEM(S) IS/ARE BELIEVED TO BE LOCATED:
unedited video published on January 19, 2020 by Paul Murphy, Eyewitness News of altercation

with one Ej PI

AND ARE BELIEVED TO CONSTITUTE A VIOLATION OF:

PROBABLE CAUSE IS BASED ON THE FOLLOWING FACTS:

On Thursday January 23, 2020 Det. Steven Phillips of the New Orleans Police Department,
Intelligence Unit, was contacted by the Jefferson Parish Sheriff's Office concerning a death
investigation which occurred in Jefferson Parish. Jefferson Parish Sheriff's Office Detectives
were seeking a search warrant for video footage from WWLTV located with in Orleans parish.
The facts and circumstances are as follows. .

On Sunday, January 19, 2020, the Jefferson Parish Sheriff's Office Homicide Division
assumed investigative responsibility relative to the undetermined death of one Ef PA at 8855
Veterans Boulevard.

In brief, in the afternoon hours on the aforesaid date deputies from the Jefferson Parish
Sheriff's Office responded to the scene and intervened in a physical altercation between 16 year-
old Ef] PHY and his father, Daren Parsa, in the parking lot of Laser Tag. Daren Parsa was
repeatedly struck and bitten by his son, who was ultimately subdued by responding deputies.
Thereafter, Eff PIE was determined to be non-responsive, prompting intervention in the form
of CPR by on scene deputies and paramedics. Eff PI was then transported by ambulance
from the scene to East Jefferson General Hospital where his death was subsequently pronounced.
Based on the severity of his injuries, Daren Parsa relocated to East Jefferson General Hospital by
personal conveyance where he received medical treatment.

EXHIBIT

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JPSO 002203

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During the course of the scene investigation, video surveillance footage was obtained
capturing the initial altercation along with the subsequent actions of responding law enforcement
and paramedics. Thereafter, investigators reviewed a segment of video of the incident on
WWLITV.com, published on January 19, 2020 by Paul Murphy, Eyewitness News. This segment
of video appears to be taken from a vehicle and different vantage point than the surveillance
footage obtained by law enforcement.

Investigators are seeking the entirety of the video acquired and published by WWLTV.com in
order to conduct a thorough and comprehensive review of said video footage pursuant to the
death investigation.

Det. Steven Phillips of the New Orleans Police Department respectfully requests, on behalf of
the Jefferson Parish Sheriff's Office, that a search warrant be issued for the above listed unedited
video so a thorough investigation can be completed.

I hereby certify under oath the facts contained within the Application for this
Search Warrant to be true and correct, under penalties of perjury, so help me God.

Sa Phil

Steven Phillips
AFFIANT

Chek Nguyt,

Set. Chinh Nguyen ID# 010413
Reviewing Supervisor

THUS DONE AND PASSED on the 23 day of January, 2020 after reading of the whole.

Mur, Zon

Melivn Zeno

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Judge

ORLEANS PARISH CRIMINAL DISTRICT
COURT

Parish of ORLEANS

State of Louisiana

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ORLEANS PARISH CRIMINAL DISTRICT COURT
PARISH OF ORLEANS
STATE OF LOUISIANA

CASE NUMBER: WARRANT NUMBER:
A-28745-20 A-28745-20

SEARCH AND SEIZURE WARRANT

AFFIDAVIT HAVING BEEN MADE BEFORE ME BY Steven Phillips of the New Orleans
Police Department, that he has a good reason to believe that on or in:

WWL TV

1024 N. Rampart St. New Orleans LA 70116

Custodial of Records

located at the address: 1024 N. Rampart St., New Orleans, LA, there is now being concealed
certain property,

unedited video published on January 19, 2020 by Paul Murphy, Eyewitness News of altercation

with one Ei PH

is/are located, which property constitutes evidence of the violation of:

of the Louisiana Revised Statues, and the affidavit submitted in support of this search warrant
shows the necessary probable cause for its issuance. The purpose and reason for the search is to
find and seize the item(s) listed above.

YOU ARE HEREBY ORDERED to search forthwith the aforesaid for the property specified
serving this Search and Seizure Warrant and making the search during the day time or night time,
Sundays or holidays, and if the thing(s) specified are found there, to seize it and hold them in safe
custody pending further orders of the court. This shall be your warrant, whereof you are to make
due to return according to law.

WITNESS my official signature on this 23 day of January, 2020.

Mdm, Zoo

Melivn Zeno

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ORLEANS PARISH CRIMINAL DISTRICT
COURT

Parish of ORLEANS

State of Louisiana

Thursday, January 23, 2020 11:18
JPSO 002207
